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MAY 02 2017

UNITED STATE DISTRICT COURT

AT SEATTLE
For the WESTERN DISTRICT OF WASHINGTON westzAn oistaie? OF wASineron

at Seattle
UNITED STATES OF AMERICA,
ie )
Plaintiff, ) Case No.: MJ17-172
)
Vs. ) WAIVER OF RULE 5(c)(3)(D) HEARING

) and ORDER OF TRANSFER
ROMAN SELEZNEV, )
Defendant

 

 

 

WAIVER OF RULE 5(¢)(3)(D) HEARING

I, Roman Seleznev, have appeared before a United States Magistrate Judge in the
Western District of Washington, who has advised me of the provisions of Rule20 and of my right
to further hearing pursuant to Rule 5(c)(3)(D) of the Federal Rules of Criminal Procedure. I wish

to waive my right to such further hearing, therefore:

a) I acknowledge that I am the person named in an indictment, information, or
Warrant pending in the U.S. District Court for the Northern District of

Georgia — Atlanta;

b) I waive my right to production of the warrant or of any other original paper
Related to these charges or certified copies thereof;

c) IfIam entitled to a preliminary examination. I elect to have it conducted in
the district where the prosecution is pending: and

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d) I consent to the issuance of an order directing me to appear and answer in said
district where the charges are pending

Dated this Z day of IW | 2017,

SEC SE CANN. Co = x) ( 4 LO
Defense Counsel A Coe Letvaid Defendapt”

ORDER OF TRANSFER

Based upon the foregoing Waiver, it is hereby ORDERED that the further proceedings in
this case shall be conducted in the U.S. District Court for the Northern District of Georgia —
Atlanta. The Clerk of this Court shall forthwith transmit to the Clerk in said district the records
of proceedings conducted in this district. Unless the defendant is released on bond, the U.S.
Marshal is directed to transport defendant as promptly as possible to that district.

If released on bond, the defendant is directed to appear in that district for further proceedings at
the time and place specified on the bond, or as otherwise directed by court order.

Dated this ( 5 day of Mow , 2017.

on

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United States Magistrate Judge

 

 
